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UNITED STATES DISTRICT COURT
SOUTHERN DISTRICT OF NEW YORK

UNITED STATES OF AMERICA SEALED INDICTMENT

V.

ERIC ADAMS,

Defendant.

Overview

1, In 2014, ERIC ADAMS, the defendant, became Brooklyn Borough President.
Thereafter, for nearly a decade, ADAMS sought and accepted improper valuable benefits, such as
luxury international travel, including from wealthy foreign businesspeople and at least one Turkish
government official seeking to gain influence over him. By 2018, ADAMS-—-who had by then
made known his plans to run for Mayor of New York City—not only accepted, but sought illegal
campaign contributions to his 2021 mayoral campaign, as well as other things of value, from
foreign nationals, As ADAMS’s prominence and power grew, his foreign-national benefactors
sought to cash in on their corrupt relationships with him, particularly when, in 2021, it became
clear that ADAMS would become New York City’s mayor. ADAMS agreed, providing favorable
treatment in exchange for the illicit benefits he received. After his inauguration as Mayor of New
York City, ADAMS soon began preparing for his next election, including by planning to solicit
more illegal contributions and granting requests from those who supported his 2021 mayoral
campaign with such donations.

2. ERIC ADAMS, the defendant, sought and accepted illegal campaign contributions
in the form of “nominee” or “straw” contributions, meaning that the true contributors conveyed

their money through nominal donors, who falsely certified they were contributing their own

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money. By smuggling their contributions to ADAMS through U.S.-based straw donors,
ADAMS’s overseas contributors defeated federal laws that serve to prevent foreign influence on
U.S. elections. Wealthy individuals evaded laws designed to limit their power over elected
officials by restricting the amount any one person can donate to a candidate. And businesses
circumvented New York City’s ban on corporate contributions by funneling their donations
through multiple employees, frustrating a law that seeks to reduce corporate power in politics.
ADAMS increased his fundraising by accepting these concealed, illegal donations—at the cost of
giving his secret patrons the undue influence over him that the law tries to prevent.

3. ERIC ADAMS, the defendant, compounded his gains from the straw contributions
by using them to defraud New York City and steal public funds. New York City has a matching
funds program that matches small-dollar contributions from individual City residents with up to
eight times their amount in public funds, to give New Yorkers a greater voice in clections.
ADAMS’s campaigns applied for matching funds based on known straw donations, fraudulently
obtaining as much as $2,000 in public funds for each illegal contribution. ADAMS and those
working at his direction falsely certified compliance with applicable campaign finance regulations
despite ADAMS’s repeated acceptance of straw donations, relying on the concealed nature of these
illegal contributions to falsely portray his campaigns as law-abiding. As a result of those false
certifications, ADAMS’s 2021 mayoral campaign received more than $10,000,000 in public funds.

4, ERIC ADAMS, the defendant, also sought and received other improper benefits
from some of the same co-conspirators who funneled straw donations to his campaigns. In
particular, a senior official in the Turkish diplomatic establishment (the “Turkish Official”), who
facilitated many straw donations to ADAMS, also arranged for ADAMS and his companions to

receive free or discounted travel on Turkey’s national airline (the “Turkish Airline”), which is
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owned in significant part by the Turkish government, to destinations including France, China, Sri
Lanka, India, Hungary, and Turkey itself. The Turkish Official and other Turkish nationals further
arranged for ADAMS and his companions to receive, among other things, free rooms at opulent
hotels, free meals at high-end restaurants, and free luxurious entertainment while in Turkey.

5. ERIC ADAMS, the defendant, and others working at his direction, repeatediy took
steps to shield his solicitation and acceptance of these benefits from public scrutiny. ADAMS did
not disclose the travel benefits he had obtained in annual financial disclosures he was required to
file as a New York City employee. Sometimes, ADAMS agreed to pay a nominal fee to create the
appearance of having paid for travel that was in fact heavily discounted. Other times, ADAMS
created and instructed others to create fake paper trails, falsely suggesting that he had paid, or
planned to pay, for travel benefits that were actually free. And ADAMS deleted messages with
others involved in his misconduct, including, in one instance, assuring a co-conspirator in writing
that he “always” deleted her messages.

6. In September 2021, the Turkish Official told ERIC ADAMS, the defendant, that it
was his turn to repay the Turkish Official, by pressuring the New York City Fire Department
(“FDNY”) to facilitate the opening of a new Turkish consular building—a 36-story skyscraper—
without a fire inspection, in time for a high-profile visit by Turkey’s president. At the time, the
building would have failed an FDNY inspection. In exchange for free travel and other travel-
related bribes in 2021 and 2022 arranged by the Turkish Official, ADAMS did as instructed.
Because of ADAMS’s pressure on the FDNY, the FDNY official responsible for the FDNY’s
assessment of the skyscraper’s fire safety was told that he would lose his job if he failed to
acquiesce, and, after ADAMS intervened, the skyscraper opened as requested by the Turkish

Official.
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New York City’s Public Matching Funds Program

7. The New York City Campaign Finance Board (“CFB”) oversees and administers a
publicly funded campaign finance system for municipal elections in New York City, including a
matching funds program (the “Matching Funds Program”) that provides eligible candidates with
public funds to match small-dollar contributions from New York City residents (“Matching
Funds”). The Matching Funds Program is intended to incentivize candidates to finance their
campaigns by engaging with average New Yorkers, instead of secking large contributions from a
limited number of influential donors, and to empower more candidates to run for office, even
without access to wealth. For mayoral candidates in the 2021 and 2025 election cycles, the
Matching Funds Program operated, as relevant here, in the following manner:

a. Candidates that coHected a minimum number of contributions and raised a
minimum amount of qualifying contributions from New York City residents were eligible to opt
into the Matching Funds Program.

b. Candidates that opted into the Matching Funds Program were required to
file a signed and notarized certification attesting, among other things, that they understood that
they were responsible for reading, understanding, and complying with, and ensuring their
campaigns’ compliance with, various statutes and rules; that submitting fraudulent claims for
Matching Funds or otherwise furnishing false information to the CFB would constitute a
fundamental breach of the obligations affirmed as part of the certification; and that, in the event of
such a breach, they would be ineligible to receive additional Matching Funds and would be
required to return all Matching Funds previously received.

c, The Matching Funds Program would provide up to $8 in Matching Funds

for each $1 of eligible contributions up to $250 from New York City residents. In other words,

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for each eligible contribution of at least $250, a participating candidate could collect up to $2,000
in Matching Funds. The Matching Funds Program would provide up to $12,952,888 in Matching
Funds for qualifying mayoral candidates during the primary and general elections in the 2021
election cycle, and up to $14,101,334 in Matching Funds for qualifying mayoral candidates during
the primary and general elections in the 2025 election cycle.

d. Certain kinds of contributions were prohibited entirely, including G) straw
contributions; (ii) contributions from a person who was not a United States citizen or a lawful
permanent resident of the United States; (iii) contributions from foreign entities and organizations;
(iv) contributions from corporations; and (v) contributions that were made, received, solicited, or
otherwise obtained in violation of any local, state, or federal law.

e, Through its Campaign Finance Handbook, the CFB informed candidates
and their campaign staff that straw contributions were not only prohibited, but also illegal.

f. Candidates that opted into the Matching Funds Program were required to
regularly submit to the CFB disclosure statements that, among other things, identified all
contributions received during a particular reporting period, regardless of whether those
contributions were eligible for matching funds, These disclosure statements were required to be
submitted electronically by either the candidate or the campaign’s treasurer using a unique login.
In order to submit a disclosure statement, the filer was required to (i) identify him or herself as
either the candidate or the treasurer and (ii) electronically sign a verification stating, “This
disclosure statement is true and correct to the best of my knowledge, information and belief and I
understand that by clicking ‘Verify’ below I am electronically signing my disclosure statement,

which shall have the same validity and effect as a signature affixed by hand.”
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8. ERIC ADAMS, the defendant, was aware that the law prohibited foreign, conduit,
and corporate contributions. At least as early as 2018, ADAMS, began raising money to fund his
first mayoral campaign (the “2021 Campaign”). In September 2019, ADAMS submitted the
required certification to opt into the Matching Funds Program. During the 2021 election cycle,
ADAMS and persons acting at his direction regularly submitted and signed disclosure statements
attesting to the veracity of the information being provided to the CFB. ADAMS won his party’s
primary election in July 2021, and was elected Mayor in November 2021. While serving as Mayor,
ADAMS again opted into the Matching Funds Program and began fundraising for his 2025
reelection campaign (the “2025 Campaign,” and together with the 2021 Campaign, the “Adams
Campaigns”), continuing at least to the date of this Indictment.

ADAMS Travels to Turkey and Begins Accepting Hlegal Campaign Contributions and
Personal Benefits

9, Within a year of becoming Brooklyn Borough President, ERIC ADAMS, the
defendant, began building relationships with foreign nationals who were seeking influence with
him, In the years that followed, ADAMS solicited and knowingly accepted illegal campaign
contributions and improper personal benefits from those foreign nationais.

In 2015, ADAMS travels to Turkey and establishes corrupt relationships

10. In 2015, ERIC ADAMS, the defendant, took two official trips to Turkey. His first
trip, in August 2015, was arranged by the Turkish Consulate General in New York City (the
“Turkish Consulate”) and paid for in part by the Turkish Consulate and in part by a for-profit
educational conglomerate based in Istanbul (the “Turkish University”). The second trip, in
December 2015, was arranged by the Turkish Official and a Turkish entrepreneur (the “Promoter’’)
whose business includes organizing events to introduce Turkish corporations and businesspeople

to politicians, celebrities, and others whose influence may benefit the corporations and

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businesspeople, For both trips, ADAMS received free business class tickets on the Turkish
Airline. Unlike ADAMS’s subsequent travel with the Turkish Airline, ADAMS reported his 2015
travel to Turkey on financial disclosure forms filed with the New York City Conflict of Interest
Board (the “COIB”), as he was required to do annually at all times relevant to this Indictment.

ll. The 2015 travel to Turkey by ERIC ADAMS, the defendant, involved several
people relevant to events described in this Indictment, including:

a. The Turkish Official, who helped arrange ADAMS’s travel to and within
Turkey in 2015, and who later steered illegal contributions and improper gifts to ADAMS to gain
influence with and, eventually, to obtain corrupt official action from ADAMS,

b. The Promoter, who arranged straw contributions to both of the Adams
Campaigns and favorable treatment in Turkey for ADAMS in 2017 and 2019, hoping to leverage
ADAMS’s considerable fame in Turkey to benefit the Promoter’s clients.

c. The owner and chairman of the Turkish University (“Businessman-1”), who
met with ADAMS in Istanbul in 2015 and again in Brooklyn, New York in 2018. Businessman-1,
who was considering a business venture in Brooklyn, and also sought to enhance his own status
by befriending ADAMS, later made illegal contributions to the 2021 Campaign.

d. A volunteer at Brooklyn Borough Hall (the “Adams Staffer’’), who then
served as ADAMS’s “Liaison to Eastern Europe Muslim Countries,” including Turkey. The
Adams Staffer subsequently became a paid member of ADAMS’s staff at Borough Hall and, later,
City Hall. The Adams Staffer accompanied ADAMS on his 2015 travel to Turkey, and later, at
ADAMS’s direction, coordinated many of the illegal campaign contributions and improper

personal travel benefits relevant to this Indictment.

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e. A wealthy Turkish businesswoman (the “Businesswoman”), who later gave
ADAMS multiple free or steeply discounted stays in a luxury hotel she owned, and organized
contributions to the 2021 Campaign.

In 2016, ADAMS secretly begins accepting free luxury travel
12. After ERIC ADAMS, the defendant, first traveled to Turkey in 2015, the Turkish
Official introduced ADAMS to the Turkish Airline’s general manager in the New York City area
(the “Airline Manager”). In 2016 and twice in 2017, ADAMS solicited and accepted free and
heavily discounted luxury air travel from the Turkish Airline, as part of the Turkish Official’s
efforts to gain influence over ADAMS, on three separate trips:

a. In October 2016, ADAMS and his domestic partner (“Adams’s Partner’’)
traveled to India. Adams’s Partner purchased economy class tickets for herself and ADAMS on
the Turkish Airline for approximately $2,286. Two days before their flight was scheduled to
depart, ADAMS accepted upgrades for himself and his partner by the Turkish Airline to business
class at no cost. Business class is the highest class offered by the Turkish Airline. Had ADAMS
and his partner purchased their business class tickets, the tickets would have cost approximately
$15,000 total.

b. In July and August 2017, ADAMS, a close relative of ADAMS (the “Adams
Relative”), and a member of ADAMS’s staff who has served as ADAMS’s liaison to the Asian-
American communities in New York City (the “Adams Liaison”) traveled to Nice, France;
Istanbul, Turkey; Columbo, Sri Lanka; and Beijing, China. ADAMS accepted free business class
tickets from the Turkish Airline, worth more than $35,000 total, for himself and his companions.

C. In October 2017, ADAMS and the Adams Liaison traveled to Nepal through

Istanbul and Beijing. ADAMS accepted free business class tickets from the Turkish Airline for

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himself and the Adams Liaison for the flights from New York to Istanbul and Istanbul to Beijing,
and for the corresponding return flights, worth more than $16,000 total.

13. Because the Turkish Airline provided free travel benefits worth tens of thousands
of dollars to ERIC ADAMS, the defendant, he flew the Turkish Airline even when doing so was
otherwise inconvenient. For example, during the July and August 2017 trip, Adams’s Partner was
surprised to learn that ADAMS was in Turkey when she had understood him to be flying from
New York to France. ADAMS responded, in a text message, “Transferring here. You know first
stop is always instanbul [sic].”. When Adams’s Partner later inquired about planning a trip to
Easter Island, Chile, ADAMS repeatedly asked her whether the Turkish Airline could be used for
their flights, requiring her to call the Turkish Airline to confirm that they did not have routes
between New York and Chile.

14. ERIC ADAMS, the defendant, also accepted valuable travel and hospitality
bencfits for himself and his companions during their time in Turkey. For example, during a stay
in Istanbul during the July and August 2017 trip, ADAMS, the Adams Relative, and the Adams
Liaison accepted a heavily discounted stay at the St. Regis Istanbul, arranged by the Promoter.
The St. Regis Istanbul is owned by the Businesswoman, who sought to ingratiate herself with

ADAMS. ADAMS stayed in the “Bentley Suite,” portions of which are depicted here:
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Bentley Suite Bedroom

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Benth ep Suite Bathroom
Although booking the Bentley Suite for two nights would have cost approximately $7,000,

ADAMS paid a total of less than $600.

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15. In order to conceal the valuable flight, hotel, and other travel benefits that ERIC
ADAMS, the defendant, accepted from foreign nationals seeking influence over him, he did not
disclose any of these trips on his annual disclosure forms, despite a legal requirement to do so,

a. By law, certain New York City elected officials and candidates for elected
office are required to file annual reports with the COIB disclosing their financial information and
outside positions and interests, as well as those of their spouses or domestic partners and
unemancipated children. The purpose of the annua! disclosure law is to provide transparency to
ensure that there are no prohibited conflicts of interest between public servants’ official duties and
their private interests.

b. At all times relevant to this Indictment, ADAMS was an elected New York
City official required to file annual disclosure forms with the COIB.

c. On his 2016 and 2017 COEB Annual Disclosure Forms, ADAMS was asked
whether he had received “any gift or gifts from the same person, entity or donor or affiliated donors
who had no business dealings with the City, other than a relative, in the total amount or with a total
value of $1,000 or more during” the year. ADAMS answered “no.” ADAMS also answered “no”
to a similar question asking whether he had received any gifts worth $50 or more from “a person,
entity, donor, or affiliated donors” who did have business with New York City,

d. The valuable travel benefits ADAMS solicited and accepted—including the
free business class upgrade for two for travel from New York to India; the free business class
tickets for three from New York to France, Turkey, Sri Lanka, and China; the heavily discounted
stay in the Bentley Suite; and the free business class tickets for two from New York to China

through Turkey—for each of the 2016 and 2017 trips described in paragraphs 12 through 14 each

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exceed $1,000 in value, as would be obvious to anyone who, like ADAMS, had extensive
experience traveling overseas.

16. ERIC ADAMS, the defendant, also sought to conceal the luxury travel benefits he
solicited and accepted from foreign nationals by creating fake paper trails, which members of
ADAMS’s staff assisted in at his direction. For example, ADAMS attempted to create a fake paper
trail suggesting he had paid for his 2017 flights on the Turkish Airline, when in fact he had not.

a. As Brooklyn Borough President, ADAMS employed a scheduler (the
“Adams Scheduler”) who managed his appointments, meetings, and other official events. Despite
her status as a New York City employee, the Adams Scheduler was used by ADAMS to perform
personal tasks for him, such as collecting rent at a Brooklyn property he owned. ADAMS also
assigned the Adams Scheduler to pay various personal expenses for him, after which ADAMS
would reimburse the Adams Scheduler in cash.

b, In 2017, ADAMS sent a series of emails to the Adams Scheduler, directing
the Adams Scheduler to pay for the free 2017 flights he and his companions had already taken on
the Turkish Airline. But the emails provided inconsistent explanations: in some, ADAMS
suggested that the Adams Scheduler should pay by using ADAMS’s credit card, while in others,
ADAMS claimed to have left cash in an envelope for the Adams Scheduler to send to the Turkish
Airline.

c. For example, on November 25, 2017, ADAMS sent an email to the Adams
Scheduler saying that with respect to the “July trip,” meaning the July and August 2017 trip on the
Turkish Airline, “J left you the money for the international airline in an envelope in your top desk
draw. [sic] Please send it to them.” Given the cost of the international business class tickets for

ADAMS alone, ADAMS’s email suggested that he left, at a minimum, well over $10,000 in cash

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in the Adams Scheduler’s desk drawer to “send” to the Turkish Airline as payment for flights taken
months earlier. He did not do that, as records from the Turkish Airline confirm that ADAMS did
not pay the airline, in cash or otherwise, because the tickets were complimentary.

17. In return for travel benefits the Turkish Official provided or arranged in or about
2015 and 2016, ERIC ADAMS, the defendant, granted a political request from the Turkish
Official. Prior to ADAMS’s 2015 travel to Turkey—-which ADAMS knew, and disclosed to the
COIB, had been funded by, among other entities, the Turkish Consulate, the Turkish Airline, and
three separate municipalities in Turkey—ADAMS had maintained a relationship with a Turkish
community center in Brooklyn (the “Community Center”). In or about 2016, the Turkish Official
told ADAMS that the Community Center was affiliated with a Turkish political movement that
was hostile to Turkey’s government, and that if ADAMS wished to continue receiving support
from the Turkish government, ADAMS could no longer associate with the Community Center.
ADAMS acquiesced.

ADAMS begins accepting straw contributions and continues to receive luxury travel benefits

18, By 2018, ERIC ADAMS, the defendant, began raising funds for the 2021
Campaign. ADAMS was closely involved in the details of fundraising, which he regarded as vital
to his success. As he texted a close supporter later in the campaign: “You win the race by raising
money .... Have to raise money. Everything else is fluff.” ADAMS further explained, “I have
a7 million dollar race. | have a clear plan to raise it and each night we are out executing the plan.”
Throughout the 2021 Campaign, ADAMS solicited and knowingly accepted straw donations,
including from foreign sources, while continuing to secretly accept free and heavily discounted

travel benefits from the Turkish Official, the Promoter, and the Airline Manager.

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19. As part of these efforts, ERIC ADAMS, the defendant, solicited and knowingly
accepted straw donations to the 2021 Campaign that were facilitated by the Turkish Official and
the Airline Manager, among others.

a. Beginning at least as early as April 2018, ADAMS asked the Airline
Manager to fundraise for the 2021 Campaign, and the Airline Manager sought to organize a
fundraiser.

b. On June 14, 2018, the Turkish Official exchanged messages with the Adams
Staffer, asking “how much can companies donate?”! The Adams Staffer explained that only
individuals could donate to the 2021 Campaign.

c. On June 22, 2018, ADAMS attended a fundraiser for the 2021 Campaign.
The Airline Manager, among others, organized and attended the event. Following the event, the
Turkish Official messaged the Adams Staffer, asking for the “list of the participants of the June 22
meeting.” The Adams Staffer then sent the Turkish Official “The list for 6/22/18,” which included
the names of various persons who donated to the 202] Campaign in the preceding days or who
donated in the following days, raising in excess of $15,000.

d. A promotional flyer for the June 22, 2018 fundraiser listed as one of the
fundraiser’s hosts a friend of the Airline Manager who owned an airport transportation business
(“Businessman-2”). In a series of messages exchanged with the Adams Staffer, Businessman-2
stated that he had facilitated a straw donation through an associate. Records from the CFB show
that the associate ultimately donated $3,000 in his own name and described himself as

unemployed.

I Many of the conversations quoted in this Indictment, including this conversation between
the Adams Staffer and the Turkish Official, were held in a language other than English.

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20. ERIC ADAMS, the defendant, also sought to arrange for his campaigns to receive
unlawful contributions from Turkish nationals, which would be routed through U.S.-based straw
donors.

a. On June 22, 2018—the same day as the fundraising event just described—
the Adams Staffer and the Promoter discussed by text message a possible trip by ADAMS to
Turkey. The Promoter stated, in part, “Fund Raising in Turkey is not legal, but I think I can raise
money for your campaign off the record.” The Adams Staffer inquired, “How will [ADAMS]
declare that money here?” The Promoter responded, “He won’t declare it... Or... We'll make
the donation through an American citizen in the U.S....A Turk... TL give cash to him in Turkey
. .. Or Pll send it to an American . . . He will make a donation to you.” The Adams Staffer replied,
“T think he wouldn’t get involved in such games. They might cause a big stink later on,” but “PII
ask anyways.” The Adams Staffer then asked, “how much do you think would come from you?
$?” The Promoter responded, “Max $100K.” The Adams Staffer wrote, “100K? Do you have a
chance to transfer that here? ... We can’t do it while Eric is in Turkey,” to which the Promoter
replied, “Let’s think.” After this conversation, the Adams Staffer asked ADAMS whether the
Adams Staffer should pursue the unlawful foreign contributions offered by the Promoter, and
contrary to the Adams Staffer’s expectations, ADAMS directed that the Adams Staffer pursue the
Promoter’s illegal scheme.

b. In November 2018, Businessman-1—the wealthy Turkish national who
owned the Turkish University, a for-profit educational conglomerate in Turkey, and whom
ADAMS met there in 2015—-visited New York City. ADAMS and the Adams Staffer met with
Businessman-1 at Brooklyn Borough Hall. At the close of the meeting, Businessman-1 offered to

contribute funds to the 2021 Campaign. Although ADAMS knew that Businessman-1 was a

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Turkish national who could not lawfully contribute to U.S. elections, ADAMS directed the Adams
Staffer to obtain the illegal contributions offered by Businessman-1. Following up on this
directive, ADAMS wrote to the Adams Staffer that Businessman-! “is ready to help. | don’t want
his willing to help be waisted [sic].”. As ADAMS directed, the Adams Staffer maintained contact
with Businessman-1 through intermediaries, culminating in ADAMS accepting straw donations of
Businessman-1’s money, discussed below.

21. In2018, ERIC ADAMS, the defendant, also continued to secretly solicit and accept
free and heavily discounted luxury travel benefits provided by the Turkish Official and the Airline
Manager. In January 2018, ADAMS and Adams’s Partner traveled to Budapest, Hungary, through
Istanbul. Several months earlier, Adams’s Partner had purchased two economy class tickets on
the Turkish Airline for approximately $560 each. In December 2017, the Adams Staffer, acting at
ADAMS’s direction, asked the Airline Manager to upgrade the tickets to business class, which he
did for free. Had ADAMS and Adams’s Partner purchased their business class tickets, the tickets
would have cost more than $14,000 total. Consistent with his prior actions, ADAMS concealed
this free and heavily discounted travel the Turkish Airline provided by omitting it from his 2018
COIB disclosure form, despite the requirement to report it,

As the 2021 Mayoral Election Approaches, ADAMS Continues to Solicit and Accept IHegal
Campaign Contributions

In 2019, ADAMS travels to Istanbul and solicits foreign contributions
22. In January 2019, ERIC ADAMS, the defendant, and Adams’s Partner traveled to
Turkey, Jordan, and Oman with the assistance of the Promoter. Because ADAMS made his travel
arrangements through the Promoter and not through the Airline Manager, the Airline Manager did
not upgrade ADAMS’s economy class tickets on the Turkish Airline, instead arranging a full

upgrade only for Adams’s Partner. Had Adams’s Partner purchased her business class ticket, it

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would have cost at least approximately $7,000. In an effort to monopolize flight travel as a method
of gaining influence with ADAMS, the Airline Manager observed that difficulty arose in
upgrading ADAMS because the arrangements had been made through others. When exchanging
messages about another potential trip later in 2019, the Adams Staffer requested an upgrade for
ADAMS from the Airline Manager and explained, in part, that “He learned his lesson last time.
We're writing directly to you this time.” After the 2019 trip, ADAMS exclusively arranged his
flights on the Turkish Airline through the Airline Manager, allowing the Airline Manager, the
Turkish Official, and the Turkish government to increase their influence over ADAMS.

23. During his 2019 trip, ERIC ADAMS, the defendant, solicited and accepted travel
benefits from the Promoter—the Turkish entrepreneur who, as described above, facilitated
ADAMS’s second 2015 trip to Turkey and in 2018 proposed to ADAMS via the Adams Staffer
raising campaign contributions illegally in Turkey. Specifically, ADAMS solicited and accepted
free hotel stays, dinners, and a boat trip, among other things, from the Promoter, including a free

two-night stay in the Cosmopolitan Suite of the St, Regis Istanbul, depicted below:

Cosmopolitan Suite Living Room

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Cosmopolitan Suite Bedroom

Had ADAMS paid for a two-day stay in this luxury suite, the cost would have been approximately
$3,000 total. ADAMS also solicited and accepted from the Promoter free transportation, meals,
and entertainment, including a car and driver, a boat tour to the Princes’ Islands in the Sea of
Marmara, a Turkish bath at a seaside hotel, and at least one meal at a high-end restaurant.

24, ERIC ADAMS, the defendant, did not report any of the free travel benefits he
received during his 2019 stay in Istanbul on his 2019 COIB disclosure form.

25. ERIC ADAMS, the defendant, also solicited unlawful foreign campaign
contributions while in Istanbul in January 2019. During ADAMS’s trip, the Promoter arranged
for ADAMS to meet a wealthy Turkish businessman (“Businessman-3”), The Turkish Official,
through the Adams Staffer, discouraged ADAMS from meeting Businessman-3, who was then
under suspicion of wrongdoing. ADAMS did so nonethless. During their meeting, ADAMS and
the Promoter solicited campaign contributions from Businessman-3, who as a Turkish national

could not lawfully contribute to any U.S. campaign. During the meeting, Businessman-3 agreed

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to contribute $50,000 or more to the 2021 Campaign, believing that ADAMS might one day be
the President of the United States and hoping to gain influence with ADAMS. In subsequent
messages, the Promoter and the Adams Staffer discussed how to funnel Businessman-3’s planned
contributions to the 2021 Campaign through U.S. straw donors, Before any of the discussed straw
donations could occur, however, Businessman-3’s legal troubles in Turkey and the United States
became more public. ADAMS declined to meet with Businessman-3 when Businessman-3 later
visited New York, and Businessman-3 did not ultimately contribute to the 2021 Campaign.

26. Businessman-3 was not the only wealthy Turkish national from whom ERIC
ADAMS, the defendant, sought illegal campaign contributions, Also in January 2019, ADAMS
continued to seek the legal foreign contributions promised by Businessman-1 (the Turkish
national who owned the Turkish University), telling the Adams Staffer in a text message to confirm
Businessman-1’s continued willingness to support the 2021 Campaign.

27. ERIC ADAMS, the defendant, continued to conceal the benefits he received from
foreign nationals seeking to gain influence over him. ADAMS did not report any of the 2019 gifts
he received from the Airline Manager or the Promoter on his annual disclosure form. In addition,
in March 2019, while exchanging text messages to plan another possible to trip to Turkey in which
the Airline Manager would arrange travel for ADAMS, the Adams Staffer texted ADAMS, “To
be ofn the] safe side Please Delete all messages you send me.” ADAMS responded, “Always do.”

In December 2020, ADAMS solicits and accepts straw contributions from a New York
construction company

28. In 2020, ERIC ADAMS, the defendant, solicited and received straw donations from
a businessman who operated a construction company in the New York City area
(“Businessman-4”). Although Businessman-4 was not part of New York’s Turkish community,

his contributions were sought and made for similar reasons to the many Turkish nationals and

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Turkish Americans whom the Turkish Official and the Promoter induced to make illegal
contributions to the 202] Campaign: Businessman-4 was a prominent member of a different ethnic
community in New York City, and he was told by ADAMS’s representatives that straw
contributions would increase Businessman-4’s influence, and the standing of his community, with
ADAMS.

a. In December 2020, two volunteers for the 2021 Campaign who later became
employees of ADAMS at City Hall (‘Adams Employee-1” and “Adams Employee-2”, and
together, the “Adams Employees”) asked Businessman-4 to contribute $10,000 to the 2021
Campaign. The Adams Employees were liaisons to Businessman-4’s community, playing roles
similar to the Adams Staffer’s role in the Turkish community. The Adams Employees told
Businessman-4, among other things, that donating $10,000 would give Businessman-4 influence
with ADAMS, which would help Businessman-4’s business interests and his community when
ADAMS became mayor, and that gaining such influence with ADAMS would be more expensive
at a later date.

b. Businessman-4 agreed to contribute and offered to write a $10,000 check
from his company’s bank account. The Adams Employees informed Businessman-4 that he could
not donate through his corporate bank account.

Cc. Businessman-4 then offered to write a $10,000 check from his personal
bank account. The Adams Employees informed Businessman-4 that he could not donate more
than $2,000. The Adams Employees then explained that Businessman-4 should instead direct his
employees to contribute to the 2021 Campaign and then reimburse the employees.

d. Businessman-4 followed the Adams Employees’ directions.

Businessman-4 personally contributed $2,000 to the 2021 Campaign and reimbursed four of his

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employees for their $2,000 contributions to the 2021 Campaign. Businessman-4 and his
employees made these contributions at a fundraiser that ADAMS personally attended, which was
held at Businessman-4’s offices.

e. The 2021 Campaign requested, and received, Matching Funds for these
straw donations.

f. After ADAMS was elected mayor, Businessman-4 sought to benefit from
the influence with ADAMS that the Adams Employees assured Businessman-4 would result from
the straw contributions. Among other things, Businessman-4 sought assistance from ADAMS and
the Adams Employees with arranging events celebrating the national heritage of Businessman-4’s
ethnic community, and ADAMS and the Adams Employees worked with Businessman-4 to
arrange such events with City sponsorship.

g. Businessman-4 also sought and received assistance resolving issues with
the New York City Department of Buildings (“DOB”), including from ADAMS himself. On
February 5, 2023, Businessman-4 sent a text message to ADAMS saying, among other things, “I
always supported you,” but that Businessman-4 was “having a hard time with DOB” getting a
stop-work order lifted, and that although ADAMS’ staff had assisted, “we reached a certain limit
that only you can lift.”. ADAMS responded, “Let me look into this.” Approximately a week and
a half later, Businessman-4 replied to ADAMS “Mayor, brother | want to thank you for your help.
DOB issue partially resolved and they promised to expedite the process, Thank you, you have my
continued support.”

In May 2021, ADAMS receives straw contributions from another New York
construction company, as arranged by the Turkish Official

29, ERIC ADAMS, the defendant, accepted support from the Turkish Official

throughout the 2021 Campaign, and the Turkish Official repeatedly informed ADAMS that he was

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providing such support. When a fundraising effort organized or facilitated by the Turkish Official
failed to raise the amount of funds that the Turkish Official had promised ADAMS, the Turkish
Official told ADAMS and the Adams Staffer that he would “close the gap” by obtaining sufficient
funds from other sources to reach the promised amount.

30. In May 2021, ERIC ADAMS, the defendant, sought and accepted straw donations
from another busmessman (“Businessman-5”) who operated another construction company in the
New York City area. Businessman-5 is a prominent member of New York City’s Turkish
community and made these donations at the behest of the Turkish Official.

a. In January 2021, the Turkish Official messaged the Adams Staffer, asking
for a meeting with ADAMS, The Turkish Official and the Adams Staffer then exchanged the

following messages:

Adams Staffer: What will the topic be?
Turkish Official: The election
that’s what
Adams Staffer: okay
Turkish Official: Nov 2nd 2021 [the date of the 2021 mayoral election]
Adams Staffer: . His favorite topic
Turkish Official: Turkish community support to him

What can we do, let’s talk
‘Adams Staffer: okay
b. ADAMS, the Turkish Official, the Airline Manager, the Adams Staffer, and
the lead fundraiser for the 2021 Campaign (the “Adams Fundraiser’’) met at a restaurant for dinner
on February 14, 2021. At the dinner, the Turkish Official committed to “support” the 2021

Campaign.

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c. The Turkish Official then organized a larger dinner to plan specific
donations to the 2021 Campaign. Businessman-5, the Turkish Official, ADAMS, the Adams
Fundraiser, and the Adams Staffer attended that dinner, which occurred on April 2, 2021. At the
dinner, ADAMS explained the Matching Funds Program and solicited contributions from
Businessman-5. The Turkish Official told ADAMS, “we are supporting you.”

d. After the April 2, 2021 dinner, Businessman-5 worked with the Turkish
Official, the Adams Fundraiser, and the Adams Staffer, among others, to plan a fundraiser for
ADAMS. Businessman-5 attempted to recruit others in the construction industry and the Turkish
community, writing, in part, this “may feel like swimming against the current but unfortunately
this is how things work in this country.” The day before the scheduled fundraiser, the Turkish
Official sent Businessman-5 at least one check, and Businessman-5 sent the Turkish Official a
message confirming that “As of now, the checks that reached us are 17,000.”

e. On May 7, 2021, Businessman-S held a fundraiser for the 2021 Campaign
at his construction company’s offices. ADAMS, Businessman-5, the Adams Fundraiser, and the
Adams Staffer attended. The Turkish Official did not attend but sent his driver to deliver severai
additional contribution checks. Prior to the fundraiser, Businessman-5’s construction company, at
the direction of Businessman-5, had provided $1,250 per employee to ten of its employees. Each
of those employees then contributed that amount to the 2021 Campaign, with the exception of one
employee who donated in his wife’s name, and another who donated $1,200 of the funds. The
Adams Staffer sent the Turkish Official a list of the contributions collected at the fundraiser.

f. Following the fundraiser, the Turkish Official sent Businessman-5 a
message asking, “how much is the total?” to which Businessman-5 replied, “I think I got to 22[.]

He just left{.] The girls, [ADAMS’s] assistants, were very happy[.]” The Turkish Official

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subsequently asked the Adams Staffer to tell ADAMS, “we will continue supporting you,” which
the Adams Staffer did.

g. The 2021 Campaign requested Matching Funds for eight of these straw
donations that were made in the names of New York City residents, fraudulently obtaining public
funds to which the campaign was not entitled.

In September 2021, ADAMS accepts straw contributions from a Turkish national
31. In 2021, Businessman-1—the Turkish national who owned the Turkish University,
as described above—attempted to make good on his earlier commitments to contribute to ERIC
ADAMS, the defendant. ADAMS and Businessman-1 used the Promoter and the Adams Staffer,
among others, to devise and execute a plan to funnel Businessman-1’s money to the 2021
Campaign, knowing full well that these donations would violate the law against U.S. political
campaigns receiving contributions from foreign nationals.

a, On July 9, 2021, the Adams Staffer exchanged messages with ADAMS
about raising funds from the Turkish University, among other sources. ADAMS explained that he
was “Not doing [an] in person fundraiser for less than $25K..”

b. On July 11, 2021, the Adams Staffer asked the Promoter how much would
be donated, explaining in a message that she needed to “tell [ADAMS] a net number.” When the
Promoter estimated between $35,000 and $50,000, the Adams Staffer replied that the Promoter
earlier “had mentioned 200K.” When the Promoter explained that the requisite number of straw
donors could not be gathered, the Adams Staffer offered to help with that aspect of the scheme.
The Promoter responded, “Hmmm then great,” and when the Adams Staffer then wrote “From
what I gathered you’ ll distribute the money,” the Promoter responded “Yes.” The Adams Staffer

later told ADAMS that the estimated total amount of the foreign donations would be $45,000.

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c. In August 2021, the Promoter, the Adams Staffer, and the president of the
Turkish University’s American campus (the “University President”) exchanged messages and
voice notes explicitly discussing the plan to funnel Businessman-1’s contribution to the 2021
Campaign through the Turkish University’s U.S.-based employees. The Promoter assured the
Adams Staffer that those employees are “[U.S.] citizens and green card holders.” The Adams
Staffer told ADAMS about the plan to funnel Businessman-1’s contribution through U.S.-based
straw donors, and ADAMS approved the plan, knowing that Businessman-1 was a Turkish citizen.

d. On August 27, 2021, the University President messaged the Adams Staffer
that the Turkish University would donate $20,000 to the 2021 Campaign by “dividing it amongst
our employees in appropriate amounts.” The Adams Staffer responded that “if the donation is not
more than $25K, then Mr. President”—referring to ADAMS, who was then Brooklyn Borough
President—“does not participate in person.” The University President then informed the Adams
Staffer that in addition to the Turkish University’s contribution, others would donate to reach the
$25,000 threshold.

e. On August 27, 2021, the University President informed the Adams Staffer
that the Turkish University would donate only $10,000. Because that meant that ADAMS would
no longer appear at an in-person event, the Adams Staffer asked the Adams Fundraiser to create
an internet link through which the Turkish University’s straw donors could contribute. In a series
of messages with ADAMS and the Adams Staffer, the Adams Fundraiser sent the link to the
Adams Staffer. To remind the Adams Staffer of the mechanics of the plan they had discussed—
that the foreign donations would be concealed by routing them through U.S.-based straw donors
who could lawfully contribute in their own names—ADAMS wrote to the Adams Staffer and the

Adams Fundraiser, “We can’t take any money from people who are not US citizens.” The Adams

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Staffer inquired, “What about green card holders?” The Adams Fundraiser responded, “Yes we
can,” confirming that the Promoter’s plan to use green card holders as straw donors would work.

f The Turkish University ultimately made its straw contributions on
September 27, 2021, when three U.S.-based employees of the Turkish University made $2,000
contributions to the 2021 Campaign and were then reimbursed, as directed by Businessman-1 and
the University President. The University President and another U.S.-based employee of the
Turkish University each also made $2,000 contributions from their own funds, The contributions
occurred during a period when the 2021 Campaign had begun to wind down fundraising and were
ultimately refunded by the campaign, but not before ADAMS submitted a disclosure statement to
the CFB that falsely claimed the U.S.-based Turkish University employees were the true donors,

g. On November 2, 2021, ADAMS was declared the winner of the 2021
mayoral election. The next day, Businessman-1 and the Promoter exchanged the following
messages:

Promoter: Good morning
The president is our brother from now on, sir.

Businessman- 1: Good morning

Promoter: May it be auspicious for all of us.
We messaged each other.

Businessman-1: Are the elections over?

Promoter: It was yesterday, sir
Everyone messaged me that he was elected.
Congratulations messages
He is most likely going to assign me as a representative, sir.
I’m going to go and talk to our elders in Ankara about how
we can turn this into an advantage for our country’s lobby.

Businessman-1: That would be nice

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h. The Promoter also celebrated ADAMS’s prospects with additional people,
telling others—including ADAMS himself—that ADAMS would soon be President of the United
States. Similarly, the Turkish Official wrote to the Adams Staffer that given ADAMS’s increasing
prominence, “at this point,” the Foreign Minister of Turkey “is personally paying attention to him”
and ADAMS “should not bother with” his other Turkish benefactors.

32. All told, the 2021 Campaign reaped over $10 million in Matching Funds based on
the false certifications that the campaign complied with the law, when in fact ERIC ADAMS, the

defendant, knowingly and repeatedly relied on illegal contributions.

In 2021, ADAMS Accepts Bribes From the Turkish Official and Interyenes on the Turkish
Official’s Behalf with the Fire Prevention Chief

33. In 2021, ERIC ADAMS, the defendant, intervened with the FDNY to permit the
Turkish Consulate to occupy a skyscraper that had not passed a fire safety inspection, in exchange
for, among other things, luxury travel benefits provided by the Turkish Official and the Airline
Manager.

34. In late June 2021, ERIC ADAMS, the defendant, sought luxury travel to Turkey
arranged by the Turkish Official and the Airline Manager. When the Adams Staffer began
coordinating this travel for ADAMS, at ADAMS’s direction, ADAMS again attempted to create a
false record suggesting that he would pay his own way, when, in fact, ADAMS had the Adams
Staffer coordinate with the Airline Manager to provide ADAMS with free and steeply discounted
travel benefits. ADAMS approved the itinerary, and, to create the false impression of payment,
the Turkish Official, ADAMS, and the Adams Staffer agreed that ADAMS would collect invoices
from vendors in Turkey regardless of whether he actually paid and would make some small credit
card payments to conceal the fact that he was taking a vacation that was mostly paid for by the

Turkish government.

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a. On June 22, 2021 , ADAMS, through the Adams Staffer, requested that the
Airline Manager book flights to Istanbul for ADAMS. In order to conceal the favorable treatment,
the Adams Staffer requested that the Airline Manager charge ADAMS what would appear to be a
“real” price:

Adams Staffer: How much does he owe?
Please, let them call me and I will make the payment.

Airline Manager: It is very expensive because it is last minute. I am working
on a discount

Adams Staffer: Okay.

Thank you.

Airline Manager: I am going to charge $50

Adams Staffer: No

Airline Manager: That would work wouldn’t it

Adams Staffer: No, dear. $50? What?
Quote a proper price.

Arline Manager: How much should I charge? :)

Adams Staffer: His every step is being watched right now
$1,000 or so

Let it be somewhat real.
We don’t want them to say he is flying for free.
At the moment, the media’s attention is on Eric.

ADAMS paid approximately $1,100 each for roundtrip economy tickets on the Turkish Airline for
himself and Adams’s Partner, which were immediately upgraded to business class at no cost. Had
ADAMS purchased business class tickets on the open market, they would have cost more than

$15,000 total.

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b. At ADAMS’s direction, the Adams Staffer also coordinated luxury lodging
for ADAMS and Adams’s Partner, which would be secretly provided at no cost to ADAMS, as the
Adams Staffer and the Airline Manager discussed:

Adams Staffer: He is also asking where else they can go in Turkey
Do you have a recommendation?

Airline Manager: Four Seasons
Adams Staffer: It’s too expensive
Airline Manager: Why does he care?
He is not going to pay
His name
will not be on anything
either
Adams Staffer: Super
C. The Turkish Official also arranged an itinerary for ADAMS and Adams’s
Partner in Turkey, which, in addition to the stay at the Four Seasons, would include a yacht tour,
a three-day stay at a luxury beach resort, and a car and driver, as well as a domestic flight between
Istanbul and the resort. The Adams Staffer forwarded details of this itinerary to ADAMS. To
assist ADAMS in concealing the nature and extent of the travel benefits he was soliciting and
accepting, the Turkish Official suggested a nominal price of approximately $720, although the true
price of this itinerary would in fact have been approximately $8,500 or more. ADAMS approved
the itinerary and the nominal price.
d. On June 26, 2021 (the same day the trip was supposed to start), the Adams
Staffer informed the Turkish Official and the Airline Manager that ADAMS was cancelling his

trip. The Turkish Airline refunded ADAMS’s payment for economy class tickets—the only

payment ADAMS had made for the late June 2021 trip to Istanbul.

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35. At around the time of this cancellation, ERIC ADAMS, the defendant, solicited
various travel benefits for the Adams Fundraiser—the 2021 Campaign’s chief fundraiser who, as
noted above, helped coordinate the straw contributions from Businessman-5’s construction
company one month earlier in May 202!—from the Turkish Official and the Arline Manager.
Continuing their efforts to influence ADAMS, the Turkish Official and the Airline Manager
ultimately provided the Adams Fundraiser with transportation from the airport, a free hotel, and
free use of a VIP room in the Turkish Airline’s business class lounge.

a. On June 27, 2021, when the Adams Fundraiser was scheduled to travel to
Istanbul, ADAMS created a message thread between himself, the Adams Fundraiser, and the
Turkish Official. ADAMS informed the Turkish Official that the Adams Fundraiser would be
arriving in Istanbul shortly and needed transportation from the airport and a hotel, which the
Turkish Official promptly arranged. When ADAMS suggested that ADAMS would pay for the
Adams Fundraiser’s expenses, the Turkish Official told ADAMS, “Eric no prob, it was set through
Turkish Hospitality Services. I hope she enjoyed her stay.” ADAMS responded, “It was amazing.
Thanks for all the coordination and attention.” In the same message thread with ADAMS, the
Turkish Official also provided the Adams Fundraiser with a fake bill for the hotel stay, to allow
ADAMS and the Adams Fundraiser to create the appearance that the Adams Fundraiser had paid
for her hotel stay, when in fact, as ADAMS knew, she had not.

b, On the day the Adams Fundraiser was scheduled to depart Istanbul,
ADAMS created a message thread between himself, the Adams Fundraiser, and the Airline
Manager. ADAMS wrote, “{Adams Fundraiser] this is [the Airline Manager]. 1. He will try to
help the issue with the form[.] 2. He can see about a hotel or the business class lounge.” The

Airline Manager then arranged for the Adams Fundraiser—who was otherwise flying on an

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economy ticket—to have access not only to the Turkish Airline’s business lounge, but also to an
exclusive private suite inside the lounge, complete with a bed and free food. The Airline Manager
explained, “This is our suite for our VIPs [a]Jnd we want you to feel your self [sic] Vip :) .” At
another point in this exchange, ADAMS wrote, “Thanks a million [Airline Manager]. My
Brother,” to which the Airline Manager responded, “Anytime brother.”

36. ERIC ADAMS, the defendant, and the Turkish Official understood that in exchange
for the benefits described in paragraphs 34 and 35, and future travel benefits for ADAMS, ADAMS
was expected to assist the Turkish Official in the operation of the Turkish Consulate in New York.

37. On July 6, 2021, ERIC ADAMS, the defendant, declared victory in his party’s
mayoral primary. On the morning of July 7, 2021, the Airline Manager sent ADAMS the following
text message: “Brother congratulations,” ADAMS responded, “Cannot thank you enough.”

38. In September 2021, ERIC ADAMS, the defendant, agreed to pressure a New York
City agency to help the Turkish Consulate secure a temporary certificate of occupancy (“TCO”)
for a building it owned and operated.

a. As Brooklyn Borough President, ADAMS had authority under the New
York City Charter to affect the administration of City services within his Borough, such as those
provided by the FDNY and other city agencies, including through: holding public hearings;
introducing legislation before the City Council; overseeing the coordination of a borough-wide
public service complaint program; and consulting with the Mayor of the City of New York on the
executive capital budget and other budget recommendations. In addition to, or in the course of,
the performance of these duties, as Brooklyn Borough President, ADAMS met with members of

the FDNY from time to time,

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b. In 2017, construction began on a 36-story building located at 821 United

Nations Plaza, New York, New York, and referred to as the Turkish House or Turkevi Center (the

“Turkish House”). The Turkish House was designed to serve as, and now serves as, the

‘headquarters of multiple Turkish diplomatic missions, including the Turkish Consulate. The cost

of the Turkish House was significant and was a topic of political debate in Turkey.

a

‘The Turkish House
c. The Turkish Consulate planned to open the Turkish House on
September 20, 2021, so that Turkey’s President could formally open the building during his visit

for that year’s opening of the United Nations General Assembly. Ensuring the Turkish House

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opened on schedule was a priority for the Turkish Official, who was at this time Turkey’s Consul
General in New York.

d. As of August 31, 2021, construction on the Turkish House was complete,
but the DOB had not yet issued a TCO for the building. Without a TCO, the Turkish House could
not open during the Turkish President’s impending visit.

e. The DOB had not issued a TCO because the FDNY had not yet conducted
an inspection and issued what the FDNY refers to as a “letter of defect,” which was a prerequisite
to the issuance of a TCO for the Turkish House. Issuing a letter of defect is a regular FDNY
procedure which, in substance, identifies remaining defects in a building’s fire safety systems, but
also serves to signal that the defects are sufficiently limited that the building can be safely
occupied.

f. From on or about August 31, 2021, through on or about September 9, 2021,
various New York City officials and employees, among others, sought to help the Turkish Official
obtain a TCO for the Turkish House by lobbying the chief of the FDNY’s Bureau of Fire
Prevention (the “Fire Prevention Chief”) to provide a letter of defect. The Fire Prevention Chief
refused, citing numerous reported fire safety defects, some of which were serious, at the Turkish
House, and the likelihood that the building would fail any FDNY inspection.

g. On or about September 5, 2021, the Turkish Official began asking
ADAMS, both directly and through the Adams Staffer, to intervene with the Commissioner of the
FDNY (the “FDNY Commissioner”) in order to secure a TCO for the Turkish House. ADAMS,
the Turkish Official, and the Adams Staffer discussed these requests through phone calls and

electronic messages. In a phone call to the Adams Staffer, the Turkish Official stated that because

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Turkey had supported ADAMS, it was now “his turn” to support Turkey. The Adams Staffer
relayed this message to ADAMS, and ADAMS responded, “I know.”

h. On September 6, 2021, ADAMS messaged the Adams Staffer that he would
contact the FDNY Commissioner.

i. On September 7, 2021, ADAMS messaged the Adams Staffer that he had a
scheduled call with the FDNY Commissioner later that day.

j. On September 8, 2021, ADAMS messaged the FDNY Commissioner,
asking him to call ADAMS. Until that point, the messages between the FDNY Commissioner and
ADAMS had consisted of (i) an August 3, 2021 message from the FONY Commissioner to
ADAMS, requesting to continue serving as FDNY commissioner after ADAMS became mayor,
and stressing that he was “loyal and trustworthy,” to which ADAMS sent a noncommittal response,
and (ii) a September 5, 2021 invitation to a September 11 memorial service from the FDNY
Commissioner to ADAMS, to which ADAMS responded that he would try to attend and wished
to speak with the FDNY Commissioner for “a half hour... about FDNY.”

k. Also on September 8, 2021, ADAMS messaged the FDNY Commissioner,
stating, in part, “They said they needed a letter of Defect from FDNY to DOB. They know they
have some issues but according to them with the letter the DOB wi[Il] give the TCO.” The FDNY
Commissioner responded, “We will get on it tomorrow.” Through the Adams Staffer, ADAMS
assured the Turkish Official, “Don’t worry,” “I am on top of this.”

l, On September 9, 2021, after a contractor working for the Turkish Consulate
sent the FDNY a letter describing the status of the Turkish House’s fire alarm system, an FDNY
employee with responsibility for inspecting the system sent the Fire Prevention Chief the following

email:

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Fr ory ee
Sent: Thursday, September 9, 2021 11:51 AM

To: nn

Subject: FW: Turkish Embassy - Fire Alarm Request - 821 ist Avenue (21021)

Chief, _

After reviewing the letter, i do not see any way we would be willing to accept it. They have some major Issues like central
station and fan shutdowns which would be an automatic violation order. Aside from that, he gave us a list with over 60
defects and some of them list 5-10 problems in each one. FAIU would not go beyond 20 defects withoutissuinga _
violation order. In my opinion, this document does not take any liability thal we would be comfortaile with. | believe it

actually felis us this building is not safe ta occupy. Feel free to reach out to discuss further.
hanks

m. On the morning of September 10, 2021, ADAMS messaged the FONY
Commissioner, stating that the Turkish Official had understood that the FDNY was going to
inspect the Turkish House the previous day, and “They really need someone . . . by today if
possible. If it is[ im]possible please let me know and I will manage their expectation.” The FDNY
Commissioner wrote back that “There seems to be a difference of opinion between the inspector”
and the private alarm engineer responsible for the building, but that the FDNY Commissioner was
“trying to iron it out.”

nh. Shortly after noon on September 10, 2021, ADAMS messaged the FONY
Commissioner, “They said the hire [sic] ups at FDNY did not give the inspector authorization to
come. The inspector indicated he needs authority to come to day [sic].” The FDNY Commissioner
responded, “Working on that as we speak.” At approximately 2:06 p.m., ADAMS messaged the
Adams Staffer that ADAMS had again spoken with the FDNY Commissioner, and “He again told
moe he is on the phone as we speak to try and resolve this:”

0. Also on the afternoon of September 10, 2021, the FDNY Chief of
Department summoned the Fire Prevention Chief to a meeting. The Chief of Department was the
FDNY Commissioner’s direct subordinate and the Fire Prevention Chief's superior. The Chief of
Department informed the Fire Prevention Chief, in substance, that if the FDNY did not assist the
Turkish Consulate in obtaining a TCO, both the Chief of Department and the Fire Prevention Chief

would lose their jobs. The Fire Prevention Chief then drafted a “conditional letter of no objection”

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for the Turkish House. The Fire Prevention Chief had never before written a “conditional letter of
no objection,” which was not standard FDNY procedure. Instead, the Fire Prevention Chief wrote
this letter, which he later described as “unprecedented,” to inform the DOB that FDNY did not
object to issuing the TCO, provided that the private engineers affirmed that the fire alarm system
functioned properly, and “assum[ing] the Department of Buildings has inspected, tested and
approved the installed water-based fire suppression systems.”

p- At 2:17 pm on September 10, 2021, the FDNY Commissioner wrote
ADAMS, “Letter being drafted now. Everything should be good to go Monday morning.” Four
minutes later, ADAMS messaged the Turkish Official, “From the commissioner: Letter being

drafted now. Everything should be good to go Monday morning.” The Turkish Official responded,

“You are Great Eric, we are so happy to hear that £4, d\,. You are a true friend of Turkey.”

ADAMS replied, “Yes even more a true friend of yours. You are my brother. I am hear [sic] to

help.” At 2:30 pm, the Turkish Official confirmed, “You are such a friend g&.” At 2:31 p.m., the

Fire Prevention Chief sent the “conditional letter of no objection” to the private alarm engineer,

39. After ERIC ADAMS, the defendant, pressured the FDNY to permit a TCO to be
issued for the Turkish House, the Turkish Official continued to fulfill his end of the bargain, by
providing additional luxury travel benefits to ADAMS. These benefits, which ADAMS accepted,
were worth more than $14,000.

a. On September 14, 2021—four days after ADAMS caused the FDNY to
acquiesce in the TCO--ADAMS messaged the Adams Staffer, directing her to secure tickets to
Pakistan for a trip from November 30 to December 8, 2021. The Adams Staffer relayed the request
to the Airline Manager, stating, “He'll pay the economy class price,” but asking, “Can we upgrade

later?” The Airline Manager replied, “Of course.”

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b. On September 21, 2021, the Turkish Official messaged the Adams Staffer,
seeking a meeting at a particular time between ADAMS and a Turkish Deputy Minister. The
Turkish Official wrote, “This is very important. He”’—the Deputy Minister—“is the person who
makes all the arrangements with one phone call in Turkey. Flight, yacht tour, hotels, rental cars...”
The meeting did not occur, because ADAMS was scheduled to meet with a former President of
the United States at the time requested for the meeting with the Deputy Minister.

C. After the Airline Manager and the Adams Staffer further discussed the price
and timing of ADAMS’s tickets, on September 28, 2021, ADAMS purchased two roundtrip
economy class tickets on the Turkish Airline from New York to Pakistan—arriving in Lahore and
departing from Islamabad—for a total price of $1,436. On November 17, 2021, the Adams Staffer
messaged ADAMS to confirm that he still intended to travel and that she should therefore have his
tickets upgraded to business class. ADAMS responded, “Ok, do so.” On November 18, 2021, the
Adams Staffer messaged the Airline Manager, requesting the upgrade. The Turkish Airline
upgraded ADAMS’s tickets to business class at no cost to ADAMS.

d. On November 25, 2021—four days before he was scheduled to depart for
Pakistan—ADAMS asked that his destination be changed to Ghana. The Airline Manager changed
ADAMS’s and Adams’s Partner’s tickets to business class flights to Ghana at no cost to ADAMS.
Had ADAMS paid full price for the business class tickets to Ghana, they would have cost more
than $14,000 total.

é. On November 26, 2021, the Turkish Official informed the Adams Staffer
that “we will take care of the layover in Istanbul,” referring to a nine-hour layover in istanbul
during ADAMS’s just-scheduled flight from New York to Ghana. The Turkish Official then

offered various arrangements for ADAMS, including an escort to meet ADAMS and Adams’s

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Partner at the gate of the Istanbul airport, pickup at the Istanbul airport by “luxury vehicle”—later
specified as a “BMW 7°—with a driver, dinner at a high-end restaurant where ADAMS would
meet a Turkish government official, drinks at a separate location, a boat tour of the Bosporus Strait,
and return to the airport in time for ADAMS’s business class flight from Istanbul to Ghana.
ADAMS selected the airport escort, driver, and dinner, but declined the Bosporus Strait cruise,
explaining that he has “done the boat tour a few times.” In touting the benefits he provided, the
‘Turkish Official messaged the Adams Staffer, “don’t let [the Airline Manager] and others confuse
[ADAMS]. We are the state.”

f. On November 30, 2021, the Adams Staffer relayed to the Turkish Official
requests by ADAMS that his excursion into Istanbul receive no media attention, including social
media. The Turkish Official agreed that it would be “confidential.” Accordingly, the Turkish
Official confirmed that during ADAMS’s dinner at the Istanbul restaurant, the Turkish Official’s
“team did not let anyone take any pictures.” This was in stark contrast to the Ghana portion of
ADAMS’: trip, for which ADAMS actively sought and obtained press coverage, and which
ADAMS posted about on his social media account.

g. After ADAMS completed the layover, the Turkish Official and the Adams
Staffer exchanged the following messages:

Turkish Official: Was Eric satisfied?

Adams Staffer: It was great. Thank you for everything.

Turkish Official:
it’s okay if he is happy

Is Eric happy then?

Adams Staffer: He is very happy. He is sending you his thanks.

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40. During and shortly after the travel to Ghana and Istanbul described in the preceding
paragraphs, ERIC ADAMS, the defendant, took additional actions for those who provided him
travel benefits, in exchange for those benefits.

a. In early December 2021, ADAMS announced the members of his transition
committees, which were established to advise the mayor-elect and his team on policies and
appointments before he took office. Initially, there were no members of the Turkish community
on any of the committees.

b. On December 8, 2021, the Adams Staffer sent the Airline Manager a link to
a list of ADAMS’: transition committees and asked the Airline Manager, “Have you looked at the
list?” The Airline Manager responded, “It would suit me well to be lead Or Senior Advisor.” Two
days later, the Airline Manager sent a message reiterating, “Lead Plz :) Otherwise seat number 52
is empty ... On the way back,” meaning that if the Airline Manager was not given a position on a
transition committee, it would affect ADAMS’: travel benefits from the Turkish Airline.

c. On December 17, 2021, the Adams Staffer sent ADAMS a list of members
of the Turkish community to add to ADAMS’s transition committees, with the Airline Manager
as the top name. ADAMS informed the Adams Staffer that he had sent the list to the persons
responsible for organizing his transition committees. ADAMS sent the list to a staff member with
the direction “Add to transition.” The Airline Manager was subsequently added to ADAMS’s
Infrastructure, Climate and Sustainability Committee transition committee.

d. On December 23, 2021, a senior Turkish government official sent the
Airline Manager a series of text messages, noting the Airline Manager’s membership on
ADAMS’s Infrastructure, Climate and Sustainability Committee and sending applause emojis.

The Airline Manager responded that his membership on the transition committee was in service of

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Turkey: “Thank you, brother. We are doing our best to serve our country adequately. Your support
gives us strength here. Thank you. You are always there for us, and we’re trying to be worthy.”
41. ERIC ADAMS, the defendant, continued to conceal the luxury travel benefits he
accepted in exchange for taking actions favorable to the Turkish Official, the Airline Manager,
and others, by once again not reporting these gifts on his 2021 annual disclosure form. In total,
from 2016 through 2021, ADAMS received the following benefits from the Turkish Official, the

Airline Manager, the Promoter, and others, none of which he reported on annual disclosure forms:

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India (via

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Free upgrade to business class for two on

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+
2016 Turkey) roundtrip from New York to India $12,000+ | No
France Free business class tickets for three on roundtrip
2017 | Turkey, from New York to France, Turkey, and China; $41,000+ | No
. heavily discounted stay in Bentley Suite of St.
China .
Regis Istanbul
China (via | Free business class tickets for two on roundtrip
i
2017 Turkey) from New York to China $16,000+ | No
Hungary Free upgrade to business class for two on
2018 (via Turkey) | roundtrip from New York to Hungary $12,000+ | No
Free upgrade to business class for one on flight
from New York to Turkey; free stay at
2019 | Turkey Cosmopolitan Suite of St. Regis Istanbul; free $9,000+ | No
meals, transportation, and entertainment in
Istanbul
Turkey
(solicited Free upgrade to business class for two on
and roundtrip from New York to Turkey; free or
2021 accepted but | steeply discounted luxury hotel and resort stays, $21,000 | No
then transportation, entertainment, and meals
canceled)
Ghana (via Free upgrade to business class for two on
2021 Turkey) roundtrip from New York to Ghana; free meal and | $12,000+ | No

transportation during Istanbul layover

4]

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ADAMS Continues His Corrupt Relationships After Becoming Mayor

After his inauguration, ADAMS favors those who provided him with illegal benefits over those
who fell short

42, On January 1, 2022, ERIC ADAMS, the defendant, was inaugurated as Mayor of
New York City. ADAMS soon began preparing for his next election, in part by planning to solicit
more straw contributions, and in part by granting requests by those who supported the 2021
Campaign with significant straw donations, while denying requests from those who fell short.

a. On January 11, 2022, ADAMS met the Promoter, the Adams Staffer, and
others at a high-end New York City restaurant frequented by ADAMS. At one point during the
meeting, ADAMS, the Promoter, and the Adams Staffer met separately in a private area. There,
the Promoter discussed his prior efforts to collect campaign contributions for ADAMS in Turkey,
stated that he could collect more foreign contributions in the future, and indicated that he would
be able to raise more money for the 2025 Campaign if ADAMS visited Turkey and met with
Turkish businesspeople. ADAMS welcomed the offer of foreign contributions and told the
Promoter to coordinate with the Adams Staffer to arrange the contributions.

b. On April 21, 2022, the Turkish Official messaged the Adams Staffer, noting
that Armenian Genocide Remembrance Day was approaching, and repeatedly asked the Adams
Staffer for assurances that ADAMS would not make any statement about the Armenian Genocide.
The Adams Staffer confirmed that ADAMS would not make a statement about the Armenian
Genocide. ADAMS did not make such a statement.

C. On November 21, 2022, the Promoter messaged the Adams Staffer that
Businessman-1 was visiting New York, and asked that ADAMS meet with Businessman-1. In
support of the requested meeting, the Promoter stated that the Turkish University “gave support,

albeit a little.’ ADAMS declined the meeting, stating that “they didn’t keep their word,” meaning

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that Businessman-1! and the Turkish University had failed to fulfill their commitment to make at
least $25,000 in donations to the 2021 Campaign.

43. ERIC ADAMS, the defendant, also continued his agreement with the Turkish
Official to assist in New York City’s regulation of the Turkish House in exchange for free or
heavily discounted travel benefits from the Turkish Airline for ADAMS and his associates.

a. From on or about July 8, 2022, to on or about July 12, 2022, the Turkish
Official exchanged messages with the Adams Staffer concerning business class upgrades on the
Turkish Airline for international travel by four of ADAMS’s close associates.

b. On July 11, 2022, the Turkish Official met with ADAMS’s senior advisor
and the Adams Staffer, among others, at the Turkish House. In a message, the Adams Staffer
referred the Turkish Official to ADAMS’s senior advisor, telling the Turkish Official, “ask [the
senior advisor] all your pending problems regarding this building {that is, the Turkish House] ...
Like FDNY approvals... .”

In 2023 and 2024, ADAMS solicits and accepts straw contributions for his 2025 re-election
campaign

44, {n 2023 and 2024, ERIC ADAMS, the defendant, again solicited and knowingly
accepted straw and foreign contributions, as part of his efforts to raise funds for the 2025
Campaign.

45, In 2023, ERIC ADAMS, the defendant, directed his staff to devise a plan for
ADAMS to secretly obtain illegal foreign donations offered by the Promoter, and then knowingly
accepted donations of foreign money through straw donors. ADAMS then attended a fundraiser
where he thanked the true donors, who he knew to be wealthy foreign nationals.

a. In the summer of 2023, the Promoter informed the Adams Staffer that he

could secure contributions to the 2025 Campaign from Turkish nationals if ADAMS would attend

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an event with the foreign donors. The Adams Staffer brought this opportunity to ADAMS, who
directed the Adams Staffer to work with the Adams Fundraiser to devise a plan to obtain the illegal
denations.

b. The Adams Fundraiser suggested that the true foreign donors make their
contributions through straw donors considerably in advance of the event at which ADAMS would
meet the true foreign donors, so that the event did not appear connected to the contributions. As
the Adams Staffer explained to the Adams Fundraiser in a text message regarding the planned
attendees, “Mayor knows most of them from turkey[.] The People who has business here as well.”
The Adams Staffer and the Promoter agreed to execute this plan, which ADAMS approved.

c. The Adams Fundraiser, the Promoter, and the Adams Staffer scheduled an
event for September 20, 2023 in a private room at a Manhattan hotel. To conceal the event’s true
purpose, the Promoter provided a PowerPoint presentation bifling the event as a dinner hosted by
“International Sustainability Leaders” with the subject “Sustainable Destinations” and an
attendance price of $5,000. The event was not publicized or listed on ADAMS’s public calendar.
The Adams Fundraiser entered the event on ADAMS’s private calendar as a “Fundraiser for Eric
Adams 2025,” with the host listed as the Promoter, a goal of “25k,” and the note “Total Submitted
before the event: $22,800.”

d. Prior to the scheduled fundraiser, the Promoter collected payments of
$5,000 or more from attendees, many of whom were foreign nationals. The Promoter then used a
portion of the attendees’ payments to make straw donations to the 2025 Campaign, by sending
cash from the foreign national donors to the Adams Staffer. The Adams Staffer then distributed
$2,100 in cash to at least three straw donors who each made an online $2,100 contribution to the

2025 Campaign.

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e. On September 20, 2023, the Promoter hosted the fundraiser, which
ADAMS, the Adams Fundraiser, the Adams Staffer, and foreign nationals who had contributed to -
the 2025 Campaign via straw donors attended. In one video of the event, the Promoter introduced
a foreign-national attendee to ADAMS, explaining that the attendee owned a business and lived in
London and Istanbul. ADAMS proceeded to thank the attendee.

46. On October 9, 2023, ERIC ADAMS, the defendant, attended a fundraiser at which
attendees agreed to make, and ADAMS agreed to accept, straw donations. The fundraiser was
organized by a Turkish American public relations representative (the “PR Representative”) and
the publisher of a magazine targeted at Turkish Americans (the “Publisher”), both of whom were
associates of the Turkish Official, and hosted by the owner of a logistics company
(“Businessman-6”), who is part of the Turkish-American community in the New York City area.

a. From late August 2023 through early September 2023, the Adams Staffer
and the Adams Fundraiser discussed the particulars of the fundraiser, including the creation of a
unique fundraising link for the event, which the Adams Fundraiser ultimately created.

b. On September 12, 2023, the PR Representative and the Publisher instructed
Businessman-6 on how to make straw donations to the 2025 Campaign, using a system under
which the 2025 Campaign routed foreign donations through U.S. citizens, to make it appear that
the contribution came from a lawful source.

c. Beginning at least as early as September 29, 2023, the Adams Staffer sent
the Adams Fundraiser updates regarding how much money was being raised in connection with
the planned fundraiser. On October 8, 2023, the day before the event, the Adams Staffer and the
Adams Fundraiser exchanged the following messages:

Adams Fundraiser: And okay are they going to make the limit?

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Adams Staffer: Yes[.] They said as agreed we will collect the 25K

Adams Fundraiser: Ok perfect

d. Also on October 8, 2023, the Airline Manager sent the Turkish Official the
unique fundraising link for the event.

é. At the October 9, 2023 fundraiser, Businessman-6 told ADAMS that
Businessman-6 owned a large corporation and wished to contribute significant amounts of money
to the 2025 Campaign. ADAMS told Businessman-6 to coordinate with the Adams Staffer.
Businessman-6 then explained to the Adams Staffer that his company employed many drivers and
that Businessman-6 would contribute to the 2025 Campaign through those employees. ADAMS
scheduled a dinner with Businessman-6 for early November, which was canceled after the federal
investigation into ADAMS’s conduct became public.

ADAMS and His Co-Conspirators Attempt to Conceal Their Criminal Conduct

47, Throughout the commission of the conduct described in paragraphs 1 through 46
of this Indictment, ERIC ADAMS, the defendant, and his agents and co-conspirators sought to
conceal their wrongful conduct from scrutiny by the public and law enforcement. As described
above, ADAMS repeatedly did not disclose the free and heavily discounted travel benefits he
accepted from the Turkish Official, the Promoter, and the Airline Manager; created a false paper
trail to suggest he had paid for this travel when, in fact, he had not; assured the Adams Staffer that
he had a practice of deleting all his messages with the Adams Staffer; and directed the Adams
Staffer to ensure that his activities in Turkey in 2021 were shielded from public view. In addition,
the purpose of conducting the straw donations discussed throughout this Indictment was to allow

ADAMS to benefit from illegal campaign contributions by concealing their true source.

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48, ERIC ADAMS, the defendant, and his co-conspirators and agents continued their
efforts to defeat scrutiny of their criminal conduct after the federal investigation into those crimes
became known to them. On November 2, 2023, Special Agents of the Federal Bureau of
Investigation (the “FBI”) executed search warrants at, among other locations, the residences of the
Adams Fundraiser, Businessman-5, and the Adams Staffer. Each took actions to conceal the
criminal conduct they had committed with ADAMS.

a. After learning that FBI agents had arrived at her residence, but before
answering their repeated knocks at her door, the Adams Fundraiser called ADAMS five times,
even though the agents had not yet given the Adams Fundraiser any indication of the purpose for
their visit. When the Adams Fundraiser then spoke with the FBI agents, she agreed to discuss
many subjects, but refused to say who had paid for her 2021 travel to Turkey. As the FBI agents
departed the Adams Fundraiset’s residence, ADAMS attempted to call the Adams Fundraiser’s
phone. On the morning that the FBI agents executed this search, ADAMS had flown to
Washington, D.C. for a publicized official meeting, but upon learning about the search, ADAMS
canceled the meeting and immediately returned to New York City.

b. Businessman-5 also agreed to speak with FBI agents and acknowledged that
he and his employees had contributed to the 2021 Campaign. Businessman-5 further
acknowledged that he had spoken with the Turkish Official about his construction company’s
fundraiser for the 2021 Campaign. But Businessman-S lied in order to conceal the straw donations
he orchestrated, falsely denying that he caused his construction company to reimburse his
employees for their contributions and that he knew why the company had issued identical checks

to ten employees for the amount of their contributions shortly before the fundraiser.

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c. The Adams Staffer also agreed to speak with FBI agents and falsely denied
the criminal conduct of herself and ADAMS, among others. At one point during her voluntary
interview, the Adams Staffer excused herself to a bathroom and, while there, deleted the encrypted
messaging applications she had used to communicate with ADAMS, the Promoter, the Turkish
Official, the Airline Manager, and others.

d. On November 6, 2023, FBI agents executed a search warrant for the
electronic devices used by ERIC ADAMS, the defendant. Although ADAMS was carrying several
electronic devices, including two cellphones, he was not carrying his personal cellphone, which is
the device he used to communicate about the conduct described in this indictment. When ADAMS
produced his personal cellphone the next day in response to a subpoena, it was “locked,” such that
the device required a password to open. ADAMS claimed that after he learned about the
investigation into his conduct, he changed the password on November 5, 2024, and increased the
complexity of his password from four digits to six. ADAMS had done this, he claimed, to prevent
members of his staff from inadvertently or intentionally deleting the contents of his phone because,
according to ADAMS, he wished to preserve the contents of his phone due to the investigation.
But, ADAMS further claimed, he had forgotten the password he had just set, and thus was unable
to provide the FBI with a password that would unlock the phone.

49. As the federal investigation into the criminal conduct of ERIC ADAMS, the
defendant, continued, so did efforts to frustrate that investigation.

a. On June 13, 2024, FBI agents interviewed Businessman-4 and the four
employees of his company through whom Businessman-4 had made straw donations to the 2021
Campaign, most of whom denied making straw contributions. Businessman-4 then contacted

Adams Employee-1, who, as discussed above, had asked Businessman-4 to make the straw

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donations to the 2021 Campaign. Later that day, Adams Employee-1 visited Businessman-4 at his
company’s offices. Adams Employee-1 stated that he had just met with ADAMS at City Hall.
Adams Employee-1 proceeded to discuss with Businessman-4 what had happened with the FBI
and encouraged Businessman-4 to lie to federal investigators. Adams Employee-| then asked to
address Businessman-4’s four employees who had made straw donations to the 2021 Campaign
and encouraged them to lie to federal investigators as well. Adams Employee-] then took
photographs of the subpoena that had been issued to Businessman-4 to send to ADAMS.
b. On the following day, Businessman-4 met again with Adams Employee-I.
Adams Employee-1 told Businessman-4 that he had met with ADAMS at City Hall earlier that day
and that they had left their cellphones outside the room in which they met so that it would be “safe”
to talk. Adams Employee-1 explained to Businessman-4 that although ADAMS was upset that
law enforcement had approached Businessman-4, ADAMS believed that Businessman-4 would
not cooperate with law enforcement.
STATUTORY ALLEGATIONS
COUNT ONE
(Conspiracy to Commit Wire Fraud, Federal Program Bribery, and to Receive Campaign
Contributions By Foreign Nationals)

The Grand Jury charges:

50. The allegations contained in paragraphs | through 49 of this Indictment are
repeated and realleged as if set forth fully herein.

51. From at least in or about 2015 through at least in or about 2024, in the Southern
District of New York and elsewhere, ERIC ADAMS, the defendant, and others known and

unknown, willfully and knowingly combined, conspired, confederated, and agreed together and

with each other to commit offenses against the United States, to wit:

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a. wire fraud, in violation of Title 18, United States Code, Section 1343;

b. soliciting, accepting, and receiving a campaign contribution by a foreign
national, in violation of Title 52, United States Code, Section 30121(a)(2); and

C. bribery, in violation of Title 18, United States Code, Section 666(a)(1)(B).

52. It was a part and object of the conspiracy that ERIC ADAMS, the defendant, and
others known and unknown, knowingly having devised and intending to devise a scheme and
artifice to defraud, and for obtaining money and property by means of false and fraudulent
pretenses, representations, and promises, would and did transmit and cause to be transmitted by
means of wire, radio, and television communication in interstate and foreign commerce, writings,
signs, signals, pictures, and sounds, for the purpose of executing such scheme and artifice, in
violation of Title 18, United States Code, Section 1343.

53. It was further a part and object of the conspiracy that ERIC ADAMS, the defendant,
and others known and unknown, would and did knowingly and willfully solicit, accept, and
receive, directly and indirectly, a contribution and donation from a foreign national, and express
and implied promises to make a contribution and donation, in connection with a local election, to
wit, mayoral elections in the City of New York, aggregating $25,000 and more in a calendar year,
in violation of Title 52, United States Code, Sections 30121(a)(2) and 30109(d)(1)(A)G).

54. It was further a part and object of the conspiracy that ERIC ADAMS, the defendant,
being an agent of a local government, to wit, the City of New York, which, in a one-year period,
received benefits in excess of $10,000 under a federal program involving a grant, contract, subsidy,
loan, guarantee, insurance, and other form of federal assistance, corruptly solicited and demanded
for the benefit of a person, and accepted and agreed to accept, a thing of value from a person,

intending to be influenced and rewarded in connection with business, a transaction, and a series

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of transactions of the City of New York involving a thing of value of $5,000 and more, in violation
of Title 18, United States Code, Section 666(a)(1)(B).
Overt Acts
55. In furtherance of the conspiracy and to effect the illegal objects thereof, the

following overt acts, among others, were committed by ERIC ADAMS, the defendant, in the
Southern District of New York and elsewhere:

a. In 2016, ADAMS accepied free upgrades to business class for himself and
a companion on roundtrip flights from New York to India.

b. In July 2017, ADAMS accepted free business tickets for himself and two
companions on roundtrip flights from New York to France, Turkey, Sri Lanka, and China.

c. In July 2017, ADAMS accepted a steeply discounted stay at the Bentley
Suite of the St. Regis Istanbul.

d. In October 2017, ADAMS accepted free business tickets for himself and a
companion on roundtrip flights from New York to China.

€, In January 2018, ADAMS accepted free upgrades to business class for
himseif and a companion on roundtrip flights from New York to Hungary.

f. In November 2018, ADAMS directed the Adams Staffer to arrange to
accept contributions of foreign funds from Businessman-1.

g. In January 2019, ADAMS accepted a free stay at the Cosmopolitan Suite of
a luxury hotel in Istanbui.

h. In January 2019, ADAMS met with Businessman-3 in Istanbul, where

ADAMS agreed to accept campaign contributions of foreign money.

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i. In December 2020, the Adams Employees solicited straw donations to
ADAMS’s campaign from Businessman-4.

j. In May 2021, ADAMS attended a fundraiser organized by the Turkish
Official, among others, where ADAMS accepted straw donations from Businessman-5.

k. In May 2021, ADAMS submitted a false disclosure statement to the CFB
that concealed the straw donations from Businessman-5.

L In June 2021 ADAMS solicited steeply discounted business class tickets,
stays at a luxury hotel and luxury resort, and transportation (including a domestic flight and a car
and driver).

m. In June 2021, ADAMS solicited a free hotel stay and free use of a VIP room
in a business class lounge of the Turkish Airlines for the Adams Fundraiser.

n. In or about August 2021, ADAMS directed the Adams Staffer to obtain
contributions of foreign funds from the Turkish University.

0. In September 2021, ADAMS caused the FDNY to issue a letter acquiescing
in the occupation of the Turkish House.

p- In September 2021, ADAMS solicited and accepted steeply discounted
business class tickets for himself and a companion on roundtrip flights from New York to Pakistan.

q. In October 2021, ADAMS submitted a false disclosure statement to the
CFB that concealed the straw donations from the Turkish University.

tr In November 2021, ADAMS solicited and accepted a free car and driver
and meal at a luxury restaurant for himself and his companion in Istanbul.

S. In January 2022, ADAMS attended a meeting with the Promoter, among

others, where he agreed to accept contributions of foreign money to the 2025 Campaign.

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t. In July 2022, ADAMS’s senior advisor and the Adams Staffer met the
Turkish Official at the Turkish House, and the Adams Staffer identified ADAMS’s senior official
as the point of contact for the Turkish Official’s “pending problems regarding” the Turkish House
such as “FDNY approvals.”

u. In July 2022, the Turkish Official arranged to provide business class
upgrades on the Turkish Airline for four of ADAMS’s close associates.

v. In September 2023, ADAMS attended a fundraiser where he thanked
foreign donors for contributions of foreign money to the 2025 Campaign made through straw
donors.

Ww. In October 2023, ADAMS attended a fundraiser where he directed the
Adams Staffer to coordinate the receipt of straw donations from Businessman-6.

(Title 18, United States Code, Section 371.)

COUNT TWO
(Wire Fraud)

The Grand Jury further charges:

56. The allegations contained in paragraphs 1 through 49 of this Indictment are
repeated and realleged as if set forth fully herein.

57. From at least in or about 2018 through at least in or about 2024, in the Southern
District of New York and elsewhere, ERIC ADAMS, the defendant, knowingly having devised
and intending to devise a scheme and artifice to defraud, and for obtaining money and property by
means of false and fraudulent pretenses, representations, and promises, transmitted and caused to
be transmitted by means of wire, radio, and television communication in interstate and foreign
commerce, writings, signs, signals, pictures, and sounds, for the purpose of executing such scheme

and artifice, to wit, ADAMS participated in a scheme to fraudulently obtain Matching Funds for

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the Adams Campaigns by falsely claiming that contributions qualified for Matching Funds when,
in fact those contributions did not.
(Title 18, United States Code, Sections 1343 and 2.)

COUNT THREE
(Solicitation of a Contribution by a Foreign National)

The Grand Jury further charges:

58. The allegations contained in paragraphs 1 through 49 of this Indictment are
repeated and realleged as if set forth fully herem.

59, In or about 2021, in the Southern District of New Yok and elsewhere, ERIC
ADAMS, the defendant, knowingly and willfuliy solicited, accepted, and received, and aided and
abetted and willfully caused the solicitation, acceptance and receipt of, a contribution and donation
from a foreign national, and express and implied promises to make a contribution and donation, in
comnection with a local election, to wit, mayoral elections in the City of New York, aggregating
$25,000 and more in a calendar year.

(Title 52, United States Code, Sections 3012] and 30109(d)(1)(A), and
Title 18, United States Code, Section 2.)

‘COUNT FOUR
(Solicitation of a Contribution by a Foreign National)

The Grand Jury further charges:

60. The allegations contained in paragraphs 1 through 49 of this Indictment are
repeated and realleged as if set forth fully herein.

él. In or about 2023, in the Southern District of New York and elsewhere, ERIC
ADAMS, the defendant, knowingly and willfully solicited, accepted, and received, and aided and

abetted and willfully caused the solicitation, acceptance and receipt of, a contribution and donation

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from a foreign national, and express and implied promises to make a contribution and donation, in
connection with a local election, to wit, mayoral elections in the City of New York, aggregating

$25,000 and more in a calendar year.

(Title 52, United States Code, Sections 30121 and 30109(d)(1}(A), and
Title 18, United States Code, Section 2.)

COUNT FIVE
(Bribery)

The Grand Jury further charges:

62. The allegations contained in paragraphs | through 49 of this Indictment are
repeated and realleged as if set forth fully herein.

63. From at least in or about the summer of 2021, through at least in or about the
summer of 2022, in the Southern District of New York and elsewhere, ERIC ADAMS, the
defendant, being an agent of a local government, to wit, the City of New York, which, in a one-
year period, received benefits in excess of $10,000 under a federal program involving a grant,
contract, subsidy, loan, guarantee, insurance, and other form of federal assistance, corruptly
solicited and demanded for the benefit of a person, and accepted and agreed to accept, a thing of
value from a person, intending to be influenced and rewarded in connection with business, a
transaction, and a series of transactions of the City of New York involving a thing of value of
$5,000 and more, to wit, ADAMS solicited and accepted free and heavily discounted luxury travel
benefits from the Turkish Official and others in exchange for intending to be influenced in
connection with the City of New York’s regulation of the Turkish House, located at 821 United
Nations Plaza, New York, New York.

(Title 18, United States Code, Sections 666(a)(1)(B) and 2.)

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FORFEITURE ALLEGATIONS
64. As a result of committing one or more of the offenses alleged in Counts One, Two,

and Five of this Indictment, ERIC ADAMS, the defendant, shall forfeit to the United States,

pursuant to Title 18, United States Code, Section 981(a)(1)(C) and Title 28, United States Code,
Section 2461(c), any and all property, real and personal, that constitutes or is derived from
proceeds traceable to the commission of said offenses, including but not limited to a sum of money
in United States currency representing the amount of proceeds traceable to the commission of said

offenses.

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Substitute Assets Provision

65. If any of the above-described forfeitable property, as a result of any act or omission

of the defendant:

a. cannot be located upon the exercise of due diligence;

b. has been transferred or sold to, or deposited with, a third person;

c. has been placed beyond the jurisdiction of the Court;

d. has been substantially diminished in value; or

€. has been commingled with other property which cannot be subdivided
without difficulty;

it is the intent of the United States, pursuant to Title 21, United States Code, Section 853(p) and
Title 28, United States Code, Section 2461(c), to seek forfeiture of any other property of the
defendant up to the value of the above forfeitable property.

(Title 18, United States Code, Section 981;

Title 21, United States Code, Section 853; and
Title 28, United States Code, Section 2461.)

DAMIAN WILLIAMS
United States Attorney

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